                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                  :        3:18-cr-00005(VAB)
                                                          :
v.                                                        :
                                                          :
CANDACE RISPOLI                                           :        JUNE 6, 2018

        OBJECTION TO GOVERNMENT’S MOTION FOR A FRYE HEARING

       The Defendant and her counsel respectfully object to the Government’s Motion For A

Frye Hearing (Doc. 21). The Defendant was indicted on January 18, 2018. Less than one month

later the Government filed its first Motion For Frye Hearing (Doc. 13). The right to the effective

assistance of counsel, including during the plea bargaining process, entitles a defendant and her

attorneys more than one month to review discovery and any proposed plea agreements that

involve a first criminal conviction and the collateral consequences thereof. Threats of

withdrawing a proposed plea agreement less than 30 days after indictment and now to be

seeking a superseding indictment, should not be used to intimidate a defendant into entering a

guilty plea.

       While Frye does stand for the proposition that “as a general rule, defense counsel has

the duty to communicate formal offers from the prosecution to accept a plea on terms and

conditions that may be favorable to the accused,” Missouri v. Frye, 566 U.S. 134, 145 (2012),

there is nothing before the Court to indicate that defense counsel in the present matter has been




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deficient regarding same. In fact, evidence to the contrary has been presented. As noted by the

Government, a revised written plea agreement was presented to the Defendant on March 27,

2018. This was a result of defense counsel performing their obligations by engaging in plea

negotiations with the Government.

       WHEREFOR, for the foregoing reasons, it is requested that the court deny the

Government’s motion.

                                                  /s/ Hugh F. Keefe
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                               CERTIFICATION OF SERVICE

        I hereby certify that on JUNE 6, 2018, a copy of the foregoing was filed
electronically and served by mail on anyone unable to receive electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.

                                                /s/ Hugh F. Keefe
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